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           EXHIBIT 12
10/19/22, Case
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  Corrections
  Published: Jun e 29. 20 11


  OBITUARIES                                                                                       I) FACEBOOK
                                                                                                   'JI TWITTER
  An obituruy on Satmday about the comic-book rutist Gene Colan
  misstated the name of the woman to whom h e was previously                                       ti GOOGLE+
  mruTied. She was Sallee Greenberg, not Cynthia Sanders. The                                      181   EMAIL

  obituary also omitted two surviving children from Mr. Colan's                                    G     SHARE
  mru-riage to Ms. Greenberg, Valerie Waldman and Jill Kubicki, and
                                                                                                   @ PRINT
  two grandchildren.
                                                                                                   liEJ REPRINTS


  I) FACEBOOK           'JI TWITTER    ti GOOGLE+     181 EMAIL      (;iJ   SHARE




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